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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PERCY R. TAYLOR,                                   )
                                                   )
                      Plaintiff,                   )       No. 13 C 1856
                                                   )
                      v.                           )       The Honorable Mary M. Rowland
                                                   )       Judge Presiding
                                                   )
COOK COUNTY SHERIFF’S OFFICE, et al.,              )       The Honorable Jeffrey T. Gilbert
                                                   )       Magistrate Judge
                      Defendants.                  )

                  TAYLOR’S MEMORANDUM IN OPPOSITION
          TO THE DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT1




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  In this combined response Defendants Dart, Whittler, Ways and the Sheriff’s Office are
referred to as the “Dart Defendants.” Defendants Ernst, Fitzgerald and Estate of Murphy are
referred to as the “Ernst Defendants.”
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I. INTRODUCTION – FACTUAL STATEMENT
         On March 9, 2011, Crystal Taylor, her niece, and her children, arrive home at 10:30 p.m.

(Plaintiff’s Statement of Additional Facts (“PS”) ¶ 7). Crystal parks her car across the street from

her house. (Id.). She is confronted by two white men, guns drawn, shouting “Put your fucking

hands up.” (Id.). Crystal is scared. Her four children in the back of the SUV are screaming and

crying (Id.). One of the men, later identified as Fitzgerald, points his gun at Crystal (Id.). One of

the men opens the car door and points the gun at the kids. (PS ¶ 8). Crystal says, “Please don’t

shoot.” (Id.). She is afraid she and her children will be killed. Fitzgerald blocks Crystal’s car and

she is ordered to turn off the engine. (Id.). Crystal and the children are not allowed to get out of

the car. (Id.). Crystal asks if she can turn the car on for heat. (PS ¶ 10). She is told, “Turn the

fucking car off.” (Id.). A relative approaches with blankets. (Id.). The relative is turned away, the

blankets are not allowed. (Id.). Crystal asks to let the children out to use the bathroom. (Id.). She

is refused. (Id.). Her daughter soils her clothes. (Id.). Crystal and her children are finally allowed

to get out of the car and into their home at 1:00 a.m. (Id.). Half hour later, Crystal is taken to the

station and questioned for 3 hours. She returns home at 4:00 a.m. (PS ¶ 10).

         These are the acts of investigators from the Office of Professional Review (“OPR”) of the

Cook County Sheriff’s Office (“CCSO”). They were assigned to investigate Crystal’s husband

Percy Taylor (“Percy” or “Taylor”), a 16-year veteran Cook County Sheriff’s Police Officer. (PS

¶ 77).

         The CCSO’s case against Percy is a three-dollar bill. It started with a claim by Woolfolk

that Percy shot a BB-gun at a truck causing property damage. (PS ¶ 23). Woolfolk had a long

criminal record. (PS ¶ 36). Woolfolk was angry at Percy because Percy caught him stealing cable

television and stealing a drain-cleaning cable. (Id.). The OPR investigators never ascertained

whether Woolfolk’s claim was physically possible. (PS ¶¶ 19, 25, 34, 35). They never investigated


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Woolfolk’s criminal background. (PS ¶¶ 29, 36). Instead, the OPR investigators used a slew of

racial slurs against Percy and his wife, focused on whether Percy, a black man, was on food stamps,

whether Percy had outstanding traffic tickets, and combed his personnel file for anything they

could use to hurt Percy. (PS ¶¶ 1-5). They obtained a search warrant, in part on a false statement,

but found nothing. (PS ¶¶ 14, 1). Not satisfied with trying to hurt Percy, the OPR investigators

intentionally terrorized Percy’s wife and children. (PS ¶¶ 7-11).

       The Ernst Defendants did not just conduct a shoddy investigation. (PS ¶ 19). Their

motivation was racial and political animus. (PS ¶¶ 1-6). According to Avet, Ernst and Fitzgerald

stated that Percy “lived like a nigger.” (PS ¶1). They called Percy a “porch monkey.” (Id.). They

called Percy’s wife a “go-o-rilla.” (PS ¶ 5). They made jokes and references to Percy’s race using

the word “nigger.” (PS ¶ 1). Fitzgerald and other OPR investigators terrorized Percy’s wife. (PS

¶¶ 7-11). OPR, most likely Ernst, sent Percy a taunting memo, three days after the alleged incident,

and more than a month before the investigation was completed, stating that the charges against

Percy had been SUSTAINED. (PS ¶ 21). Ernst made a false statement under oath in the complaint

for the search warrant. (PS ¶ 14). Ernst used the N-word 2 to 5 times at Taylor’s residence and at

OPR headquarters. (PS ¶ 2). At OPR headquarters, Ernst, upset that they could not find a weapon,

stated “we’re [going] to get this nigger.” (Id.). At the Merit Board on February 27, 2013, Ernst

stated to Percy: “You better quit, nigger.” (PS ¶ 3). The Ernst Defendants’ acts were intentional

and carried out with deliberation, in order to harm Percy.

       The claim by Woolfolk was that Percy allegedly shot at the truck 9 times with a BB-gun.

(PS ¶ 23). Woolfolk stated that the noise the BB-gun made was a “poof.” (Id.). The Cook County

Sheriff’s Police Department (“CCSPD”) criminalistics investigation shows only 4 possible pellet

strikes on the windshield. (PS ¶ 25). It shows 5 possible gunshot strikes. (Id.). No one really knows




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when any of this damage was done. No one tried to determine the angle of the shots. (PS ¶ 19). No

one tried to locate the projectiles. (Id.). One of the projectiles penetrated to the motor, another

struck the inside wheel cover. (PS ¶ 25). There is no way that a BB-pellet could have penetrated

to the motor. The truck was towed away before any search for projectiles was done at the scene.

(Johnson Report p. 15). No projectiles were found at the scene or in the truck. (PS ¶ 1). This

exculpatory evidence is not included in the summary of the investigation. (PS ¶ 53). The summary

is what the higher-ups review. (Id.).

       The OPR investigation did not meet minimum standards, did not explore exculpatory

evidence and was conducted in a racially biased manner. (PS ¶ 51-53). As discussed below, the

facts show that the Dart Defendants had Percy fired because of (1) Percy’s support of Dart’s

political opponent; (2) racial discrimination, and (3) because Percy filed racial and political

discrimination claims. The Ernst Defendants violated Percy’s constitutionally protected rights by

false arrest, unlawful detention, intentionally conducting a shoddy investigation, excluding

exculpatory evidence, and making false statements. The Ernst Defendants acted either based on

racial animus, political animus, or a combination of both.

       The acts of retaliation against Percy continued. Before the void Cook County Sheriff’s

Merit Board (“MB”) hearing took place, Defendants sought to fire Percy for allegedly grabbing a

Deputy Sheriff’s hand to stop an illegal search. (PS ¶ 56). More than a month after that incident,

Ernst and Fitzgerald prepared, and had two Deputies sign, misdemeanor criminal complaints

against Percy (Id., ¶¶ 60-62). Defendants also sought to fire Percy for allegedly telling a sergeant

that he was going to write him traffic tickets and lock him up. (PS ¶ 66). The OPR investigations

resulted in complaints before the MB seeking Percy’s termination. (PS ¶¶ 33, 65, 66). Other CCSO

employees with far more serious charges received 3 to 30-day suspensions. (PS ¶ 75). The CCSO




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repeatedly moved to dismiss and reinstate these MB cases after Percy prevailed in State Court and

the Illinois Appellate Court (PS ¶ 68-72). Further, after the MB decision terminating Percy was

declared void, the CCSO refused, and continues to refuse, to put Percy on the payroll and to pay

him the backpay and other benefits to which he is entitled (PS ¶ 44-47).

II. TITLE VII RACE DISCRIMINATION CLAIMS
       Under Title VII, it is unlawful for an employer to discharge an employee because of race

or sex. 42 U.S.C. § 2000e; Coleman v. Donahoe, 667 F.3d 835, 845 (7th Cir. 2012). A plaintiff

may prove discrimination directly or indirectly. Coleman, 667 F.3d at 845. Under the “direct

method,” the plaintiff avoids summary judgment by presenting evidence, direct or circumstantial,

that the employer’s discriminatory animus motivated the adverse employment action. Id.

A. THE CAT’S PAW THEORY OF LIABILITY PRECLUDES SUMMARY JUDGMENT
       Summary judgment must be denied based on the overt racial prejudice of OPR

investigators Ernst and Fitzgerald. The CCSO tries to distance itself from the racial animus of

these OPR investigators in an attempt to avoid responsibility for the hideous racial slurs, bias, and

slipshod investigation that led to Percy’s discharge. It is no defense that Ernst and Fitzgerald were

not “decision makers.” They set in motion a runaway train that led to Whittler’s approval of Ernst’s

“Report of Investigation,” sustaining the charges, approving the recommendation of termination,

and filing the MB complaint seeking discharge.

       Under the Cat’s Paw theory, the CCSO is liable for Ernst and Fitzgerald’s racial animus

regardless of whether they “technically” made the final disciplinary decisions. The “Cat’s Paw”

theory “applies when a biased subordinate, who lacks decision-making power, uses the formal

decision-maker as a dupe in a deliberate scheme to trigger a discriminatory employment action.”

Robinson v. Perales, 894 F.3d 818, 832 (7th Cir. 2018). The plaintiff must provide evidence that

(1) the biased subordinate actually harbored discriminatory animus against the plaintiff, and (2)



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that the biased subordinate’s scheme was a proximate cause of the discharge. Robinson, 894 F.3d

at 832, quoting Johnson v. Koppers, Inc., 726 F.3d 910, 914 (7th Cir. 2013); see also, Staub v.

Proctor Hospital, 562 U.S. 411, 131 S.Ct. 1186, 1194 (2011) (employer may be liable for

discrimination if a non-decision maker “performs an act motivated by animus that is intended ...

to cause an adverse employment action, and ... that act is a proximate cause of the ultimate

employment action.”).

       Discriminatory statements by the subordinate “may be probative of intentional

discrimination if that individual exercised a significant degree of influence over the contested

decision.” Sun v. Bd. of Trs. of Univ. of IL, 473 F.3d 799, 813 (7th Cir. 2007). For example, a

subordinate conceals relevant information from the decision maker, thus manipulates the decision

making process and influences the decision. Maarouf v. Walker Mfg. Co, 210 F.3d 750, 754 (7th

Cir. 2000); Gusman v. Unisys Corp., 986 F.2d 1146, 1147 (7th Cir. 1993). In Mateu-Anderegg v.

Sch. Dist. of Whitefish Bay, 304 F.3d 618 (7th Cir. 2002), the Seventh Circuit stated:

       Thus, “[s]ummary judgment is generally improper where the plaintiff can show that
       an employee with discriminatory animus provided factual information or other
       input that may have affected the adverse employment action.” Dey v. Colt Constr.
       & Dev. Co., 28 F.3d 1446, 1459 (7th Cir.1994). For instance, when a biased
       employee makes a discriminatory statement in the context of a plaintiff's
       performance review—an evaluation that may be passed along to the
       decisionmaker—the subordinate's attitudes become relevant to the discrimination
       calculus. See, e.g., Eiland v. Trinity Hosp., 150 F.3d 747, 751 (7th Cir.1998). More
       to the point, if the plaintiff proffers evidence demonstrating that the biased non-
       decisionmaker concealed “relevant information from the decision making
       employee or feed[s] false information to him,” then the animus of the non-
       decisionmaker becomes relevant because he “is able to influence the [employment
       decision.]” Wallace, 103 F.3d at 1400. Essentially, then, “these cases prevent an
       employer from escaping liability by setting up many layers of pro forma review,
       thus making the operative decision that of a subordinate with an illicit motive.”
Mateu-Anderegg, 304 F.3d at 627.

Defendants Ernst and Fitzgerald (and others) Harbored Discriminatory Animus against Percy




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        There is massive amount of evidence that Ernst and Fitzgerald, the OPR investigators

assigned to the case, harbored discriminatory and racial animus towards Percy. George Avet

(“Avet”), one of the OPR investigators assigned to the Taylor case, provided damning testimony

about the racial animus and racial slurs directed at Percy and his wife Crystal. (PS ¶¶ 1-11).

        During the search of Percy’s residence, Ernst, Fitzgerald, and others, who were all white,

“stated that [Percy] lived like a nigger and called him a porch monkey.” (PS ¶1). At the Taylor

residence and at OPR headquarters, Ernst used the N-word to refer to Percy (PS ¶ 2). Upset that

they could not find a weapon, Ernst stated “we’re [going] to get this nigger.” (Id.). Ernst used the

N-word 2-5 times at Percy’s residence and both Ernst and Fitzgerald referred to Percy as a “Porch

Monkey.” (PS ¶¶ 2-3). Fitzgerald also called Percy a “nigger” (PS ¶ 2). On February 27, 2013, at

the MB office, Ernst said to Percy: “You better quit, nigger.” (PS ¶ 3). Fitzgerald and other OPR

investigators terrorized Crystal and their children (See, Introduction, above).

        On March 9, 2011, Ernst told Percy he was under arrest and Fitzgerald handcuffed him (PS

¶ 15). Percy was left outside in the cold and rain for 30-45 minutes before he was placed in a car

(Id.). He was taken to OPR in handcuffs and paraded in front of his peers (PS ¶ 16). Ernst

handcuffed him to a table (Id.). Percy was held for 30 hours (Id.). This is all further evidence of

racial bias.

        Correctional Officer David Evans, an African American, testified about racist photos

posted on Fitzgerald’s Facebook Page (PS ¶ 4). In 2011 or 2012, Fitzgerald “had a picture of an

African American black doll with big, red lips hanging from a noose, from a damn roof, and he

had a police baton with the motion that he was hitting… the doll.” (Id.). Evans describes another

incident around 2010 at Cook County Jail. Fitzgerald opened cartons of milk, poured them into




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mop buckets in front of the African American detainees for whom the milk was intended, and

stated: “Black mother fuckers ain’t getting shit.” (Id.).

       Taylor’s police practices expert, a retired State Police Lt. Colonel, states in his Report:

“Such overt and extreme bias as depicted in Avet’s, Hemphill’s and Crystal Taylor’s testimony, if

accurate, demonstrates that OPR investigators involved displayed a racial bias, a bias towards

Percy Taylor, political bias and a lack of professionalism.” These acts are “contrary to accepted

law enforcement practices, standards and training.” (PS ¶ 49).

The Biased Subordinates’ Scheme was a Proximate Cause of the Adverse Employment
Actions
       There is substantial evidence that the biased subordinate scheme was a proximate cause of

adverse employment actions against Percy. Ernst and Fitzgerald were the OPR investigators

assigned to the case under the direction of Ed Dyner and Patrick Murphy (PS ¶12). Ernst and

Fitzgerald provided factual information and other input that affected the adverse employment

actions. Ernst’s role and involvement, as senior and lead investigator, cannot be overstated. (Id.).

Ernst signed a sworn complaint for the search warrant; searched Taylor’s residence, interviewed

witnesses; testified for the Sheriff at the Loudermill hearing; prepared a prosecution memo for the

State’s Attorney; prepared and signed OPR’s Summary Report (“SR”) sustaining the charges and

recommending separation; and testified for Sheriff Dart at the MB hearing (PS ¶ 13).

       OPR’s SR prepared by Ernst is, by itself, sufficient evidence of causation to defeat

summary judgment. The SR fails to mention exculpatory evidence including: (1) that no weapon

was found; (2) no projectiles were found; (3) the prior animosity that Woolfolk had against Percy

(PS ¶ 53); (4) Woolfolk’s extensive criminal record; (5) the items listed in Chief Holbrook’s April

14, 2011 memo highlighting the problems with the investigation and the weakness of the evidence




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(PS ¶ 29, 36, 53); (6) that the case was “he said, she said” with no physical evidence to corroborate

Woolfolk’s account of what happened. (PS ¶¶ 19, 25, 29, 34, 35).

       If the plaintiff proffers evidence demonstrating that the biased non-decisionmaker

concealed “relevant information from the decision making employee or feed[s] false information

to him,” then the animus of the non-decisionmaker becomes relevant because he “is able to

influence the [employment decision.]” Wallace v. SMC Pneumatics, Inc., 103 F.3d at 1394 1400

(7th Cir. 1997). Ernst concealed relevant information from the decision makers by omitting key

details in his SR.

       SRs are provided to give the reader a synopsis of the investigation knowing that busy

administrators may only read, and base their decisions on, the SR (PS ¶ 53). This is especially

significant in this case where the investigation file is over 300-pages and one of the decision

makers, Whittler, testified that she deals “with thousand—thousands of cases.” (PS ¶¶ 32, 53).

Whittler also admitted that she was not certain if she ever disagreed with an OPR recommendation

for discipline (Id.). Johnson called Whittler’s admission “mind boggling.” (PS ¶ 32).

       The Command Channel Review (“CCR”) process was flawed and failed to result in an

unbiased, fair and competent independent review of OPR’s investigation (PS ¶ 48). Johnson

chronicles many of the deficiencies in the CCR process. Johnson states that the CCR should have

resulted in the investigation being classified as Unfounded or Not-Sustained or sent back to OPR

for further investigation (PS ¶ 54). The OPR supervisory personnel responsible for ensuring a

thorough, complete, objective and impartial investigation failed to comply with accepted law

enforcement practices and standards (PS, ¶ 48).

       The CCR in Taylor’s case was a sham and Ernst’s findings and recommendations were

rubber-stamped. Before the investigation was completed, the CCSO had decided that charges were




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sustained against Percy as evidenced by the March 11, 2011 CCSO memo that states the charges

“have been SUSTAINED.” (PS ¶ 21). Whittler did not sign off on the CCR until April 28, 2011

(Id.). OPR’s Memorandum of Investigation under the subject “Prosecution Memorandum” dated

March 18, 2011, prepared by Ernst also shows that OPR had prejudged the case (Id.).

       “Proximate cause requires only some direct relation between the injury asserted and the

injurious conduct alleged, and excludes those links that are too remote, purely contingent, or

indirect.” Staub v. Proctor Hosp., 562 U.S. 411, 419-20 (2011). Based on the facts discussed

above, a reasonable jury could find that Ernst and Fitzgerald influenced the adverse employment

actions against Percy. There are genuine issues of material fact on Taylor’s Title VII racial

discrimination claims against the CCSO and summary judgment must be denied.

III. FIRST AMENDMENT CLAIMS – POLITICAL ASSOCIATION
       To make a prima facie case of First Amendment political discrimination, plaintiff must

show: (1) the plaintiff’s conduct is constitutionally protected; and (2) the protected conduct was a

motivating factor in the employer’s actions. Daza v. Indiana, 941 F.3d 303, 308 (7th Cir. 2019).

Plaintiff’s Conduct is Constitutionally Protected

       Percy’s political support of Baker, Dart’s opponent for County Sheriff, is protected under

the First Amendment. Branti v. Finkel, 445 U.S. 507 (1980) (government employers prohibited

from dismissing most public employees on the basis of partisan affiliation); Hagan v. Quinn, 867

F.3d 816, 824 (7th Cir. 2017). “‘It is undisputed that political nonaffiliation is a right protected

under the first amendment.’” Greene v. Cook County Sheriff’s Office, 79 F.Supp.3d 790, 807-08

(N.D. Ill. 2015), quoting Hermes v. Hein, 742 F.2d 350, 354 n. 3 (7th Cir. 1984).

       There is no basis for the Dart Defendants’ argument that Percy does not have a First

Amendment claim (Dart MSJ, p. 11). A lawsuit challenging termination and other adverse

employment actions taken against him for supporting a political rival of a public official involves


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a matter of public concern. The First Amendment protects the right to associate with others in

pursuit of a wide variety of political, social, economic, educational, religious, and cultural ends.

Marshall v. Allen, 984 F.2d 787, 799 (7th Cir. 1993). Speech is directed at a matter of “public

concern” if it relates to any matter of political, social, or other community concerns. Wainscott v.

Henry, 315 F.3d 844, 849 (7th Cir. 2003). Elections of public officials are matters of public

concern.

Genuine Issues of Fact Exist as to whether the Protected Conduct was a Motivating Factor
       At this stage, Percy is not required to show but-for causation. Green, 79 F.Supp.3d at 809.

To survive summary judgment, he only need establish that political considerations were a

motivating factor. Id.; see Kidwell v. Eisenhauer, 679 F.3d 957, 965 (7th Cir. 2012) (to establish a

prima facie case, the plaintiff must produce evidence that his speech was at least a motivating

factor). The “cat’s paw” theory of causation applies to the issue of causation against the CCSO

over Percy’s protected speech. Greene, 79 F.Supp.3d at 812.

       A motivating factor may be proved by direct or circumstantial evidence. Kidwell, 679 F.3d

at 965. A plaintiff may rely on circumstantial evidence to establish the employer's awareness of

protected expression. Dey v. Colt Const. & Dev. Co., 28 F.3d 1446, 1458 (7th Cir. 1994).

Circumstantial evidence may include suspicious timing, ambiguous oral or written statements, or

behavior towards, or comments directed at, other employees in the protected group. Long v.

Teachers’ Retirement Sys. of Ill., 585 F.3d 344, 350 (7th Cir. 2009); Greene, 79 F.Supp.3d at 811.

At summary judgment stage, a plaintiff need not prove that the employer was aware but is only

required to produce evidence that would permit such an inference. Dey, 28 F.3d at 1458. It suffices

to show that Percy’s political affiliation was a “sufficient condition” for the CCSO’s investigation

and discipline. Hernandez v. Cook County Sheriff’s Office, 2017 WL 4535982, *8 (N.D. Ill.

9/25/17).


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       Defendants are wrong that “there is no evidence the [Dart] Defendants were aware of

Plaintiff’s political support of Baker when [Percy] was terminated.” (Dart MSJ, pp. 13-14). Percy’s

support for Baker was well known and common knowledge (PS ¶¶ 37-39). Percy was identified

by name when he spoke for Baker in a radio commercial broadcasted on African American stations

during the 2010 campaign (PS ¶ 38). At his deposition, Percy identified seventy-five CCSO

employees with whom he had talked about his support for Baker (PS ¶ 37).

       Percy was a driver for Baker, taking him to meetings, slatings and “tons of political events.”

(Id.). Percy openly campaigned for Baker passing out literature in front of Cook County Jail with

Baker’s campaign signs on Baker’s truck (PS ¶ 39). Fitzgerald was aware of Percy’s support for

Baker because Fitzgerald was a Union Rep. Evans and Percy tried to arrange a meeting to request

the Union’s endorsement (PS ¶ 39).

       OPR Investigator Avet testified: “At some point somebody in OPR, I can’t say who this

was, said oh, this is a Sylvester Baker guy. I recall Ernst saying at the time, we got to get this

mother fucker.” (PS ¶ 5). According to Avet, before Ernst made this statement, OPR investigators

learned that Percy had supported Baker (Id.).

       The events surrounding Sheriff’s Police Officer David Barber in 2011 provide additional

evidence that Percy was targeted for supporting Baker. In 2011, OPR Director Dyner, who headed

the same OPR unit that investigated Percy, assigned OPR Investigator Hemphill to investigate

Barber (PS ¶ 40). Barber was a Baker supporter (PS ¶ 41). Dyner told Hemphill that “they” wanted

Barber “terminated.” (PS ¶ 40). When he asked Dyner who wanted Barber fired, Hemphill testified

that Dyner, “… alleged that he had had a telephone conversation with the sheriff, the undersheriff,

and the chief of staff, who was Brian Towne at the time.” (PS ¶ 41). The statement that the Sheriff

wanted Barber fired occurred before the investigation even started (Id.). Hemphill feared for his




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job if he did not reach the desired conclusion (Id.). When asked why Dart, Whittler and Dyner

wanted Barber fired, Hemphill stated that Dyner referenced or implied that Barber had a pending

racial discrimination complaint (Id.).

       The above events are admissible under FRE 404(b) especially given the more lenient

standards for opposing motions for summary judgment. See, Hill v. City of Chicago, 2011 WL

3840336 (N.D.Ill.); Hartzol v. McDonald's Corp., 437 F.Supp.2d 805, 808 (N.D.Ill. 2006)

(evidence presented in opposition to a motion for summary judgment must be admissible in

content, though it need not be in an admissible form).

       The evidence regarding Barber establishes facts at issue other than Defendants’ propensity

to commit the conduct in question. The evidence shows that the other acts are similar and close

enough in time to be relevant to facts at issue in this case. The evidence is sufficient to support a

jury finding that the Defendants committed similar acts. Here, probative value is not substantially

outweighed by the danger of unfair prejudice under FRE 403. Evidence of other bad acts is

admissible for other purposes including motive, intent, plan, or opportunity under FRE 404(b).

Okai v. Verfuth, 275 F.3d 606, 610 (7th Cir. 2001). The evidence is also admissible to show

preparation, knowledge, identity, or absence of mistake or accident. See, Lanigan v. Babusch, 2011

WL 5118301, at *2 (N.D.Ill.).

       The similarities between Barber and Percy are striking. Both were Sheriff’s Police Officers;

both were Baker supporters; both investigations occurred in 2011; the results of both investigations

were predetermined; Dyner headed the same OPR unit that investigated both Taylor and Barber

(PS ¶ 40); Hemphill was involved in both investigations; and Dart and Whittler were personally

involved in both investigations (see discussion infra). Johnson found Hemphill’s testimony

particularly relevant (PS ¶ 41).




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       When the evidence set forth in Percy’s PS is considered as a whole, a jury could reasonably

conclude that Percy’s political affiliation was at least a motivating factor in the employment

actions against him. It is difficult to reach a different conclusion given the manner in which Percy,

his wife and children were treated; the shoddy nature of the investigation; the repeated acts of

retaliation, including those related to the Nowacki incident, where the CCSO sought to fire Percy

for allegedly grabbing Nowacki’s hand, and where it was Ernst and Fitzgerald that prepared

misdemeanor criminal complaints against Percy more than a month after the incident (PS ¶ 60);

the Guerrero incident where the CCSO sought to fire Percy for allegedly stating that he would

write Guerrero tickets and lock him up; the CCSO repeatedly moving to dismiss and reinstate the

MB cases involving Nowacki and Guerrero after Percy prevailed in State Court and the Illinois

Appellate Court (PS ¶¶ 68-72); and the CCSO refusing to put Percy on the payroll and to pay him

the back pay and other benefits to which he is entitled to after Judge Cohen and the Illinois

Appellate Court found that the October 30 2013 MB decision was void (PS ¶¶ 42-47).

       The Dart Defendants are wrong that the continued acts retaliation fail to rise to an adverse

employment action (Dart’s MSJ, pp. 11-12). In order to show an adverse employment action, a

plaintiff needs to present evidence of “some quantitative or qualitative change in the terms or

conditions of his employment or some sort of real harm.” Atanus v. Perry, 520 F.3d 662, 675 (7th

Cir. 2008). “The First Amendment requires a deprivation likely to deter free speech, a standard

considered more lenient that the Title VII counterpart of adverse action.” Hobgood v. Illinois

Gaming Bd., 731 F.3d 635, 643 (7th Cir. 2013). “Any deprivation” can suffice “If… the

circumstances are such as to make such a [deprivation] an effective deterrent to the exercise of a

fragile liberty.” Power v. Summers, 226 F.3d 815, 820 (7th Cir. 2000).




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       The question is “often fact-specific and that sometimes even modest deprivations or threats

can be sufficient to deter protected speech.” Swetlik v. Crawford, 738 F.3d 818, 825 n.2 (7th Cir.

2013). In Hernandez, the Court held: “Considering this persuasive authority from the courts of

appeals and the lenient nature of the standard, the Court finds that the Sheriff’s Office’s decision

to suspend Plaintiffs with pay and initiate an investigation (whether criminal or with criminal

implications) … would dissuade a reasonable person from exercising their political rights.”

Hernandez, 2017 WL 4535982, at *8.

       Here, Defendants’ continued acts of retaliation meet the standard for an adverse

employment action. For instance, on March 18, 2013, Dart filed a Merit Board complaint related

to the Guerrero incident seeking Taylor’s termination (PS ¶ 66). That complaint is pending before

the MB (Id.). OPR sustained the charges recommending termination (Id.). It is contrary to well-

established case law to contend that this is not an adverse employment action. The Seventh Circuit

defines “adverse employment actions” broadly. Porter v. City of Chicago, 700 F.3d 944, 954 (7th

Cir. 2012). “A material adverse change might be indicated by a termination of employment, a

demotion evidenced by a decrease in wage or salary, a less distinguished title, a material loss of

benefits, significantly diminished material responsibilities, or other indices that might be unique

to a particular situation.” Crady v. Liberty Nat'l Bank & Trust Co., 993 F.2d 132, 136 (7th

Cir.1993).

       Percy was also retaliated against by being denied more than $456,000 in backpay (PS ¶

47). There is ample evidence that Percy suffered adverse employment actions to support his

retaliation claims.

IV. PERSONAL INVOLVEMENT
       The requirement of personal involvement in the deprivation of a constitutional right “can

be satisfied if the conduct causing the constitutional deprivation occurs at the defendant’s direction


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or with the defendant’s knowledge and consent.” (9/30/18 Opinion, Doc. 290, p. 5, citing Gentry,

65 F.3d at 561 and Gill v. City of Milwaukee, 850 F.3d 335, 344 (7th Cir. 2017). That is, the

defendant must know about the conduct and facilitate it, approve it, condone it, or turn a blind eye.

Gentry v. Duckworth, 65 F.3d 555, 561 (7th Cir. 1991); Greene, 79 F.Supp.3d at 811-12. The CCSO

is subject to § 1983 liability if a plaintiff can show a constitutional injury caused or ratified by

person with final policymaking authority. Darchak v. City of Chicago Bd. of Educ., 580 F.3d 622,

629 (7th Cir. 2009); Greene, 79 F.Supp.3d at 811.

Undersheriff Zelda Whittler
        Whittler was a direct participant and had the requisite personal involvement. The Court

need look no further than the April 2011 communications between Whittler and Holbrook (PS ¶

29). Whittler and Dart wanted Percy suspended without pay (PS ¶ 30). On or about April 13,

2011, Whittler sent a letter to Holbrook stating: “Pursuant to our discussion regarding Officer

Percy Taylor on April 12, 2011 and the Loudermill Hearing Board’s recommendation, I do not

concur with the recommendation of suspension with pay.” (Id. ¶ 29).1 Whittler copied the Sheriff’s

Chief of Staff and others on her letter (Id.). The letter confirms that Whittler personally spoke to

Holbrook about Taylor. (Id). Whittler was also copied on an April 14, 2011, memo from attorney

Maher to Taylor (PS, ¶ 32).

        In a memo dated April 14, 2011, Holbrook responded to Whittler defending the Loudermill

Board’s decision stating inter alia: “In this particular instance, debriefing the Board members

revealed that they voted their conscious [sic] based on the weaknesses of the evidence, not for

want of knowing what to do.” (Id.). Holbrook told Whittler about the problems with OPR’s



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  Whittler’s letter is dated April 14, 2011 (PS ¶ 29). Whittler testified that there appeared to be a
clerical error based on Holbrook’s April 14, 2011 memorandum referencing Whittler’s letter dated
April 13, 2011 (Id.).


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investigation including: the investigation left too many unanswered questions and was incomplete

including Woolfolk’s lengthy criminal history which “bore on the ultimate questions of ‘he said,

she said’”; the investigators ending their investigation when the States Attorney’s office declined

to pursue felony charges; the Police Department being put off time and again to requests to view

the investigatory file prior to the hearing; and OPR obtaining a search warrant for the wrong

address (Id.).

        Whittler’s involvement in Taylor’s case is contrary to her deposition testimony where she

testified that her only role in employee discipline was being the final signature on command

channel review (PS ¶ 32). According to Whittler, she dealt with thousands of cases (Id.). It should

be for the jury to decide why she took such a personal interest in Taylor.

        Whittler also signed off on all three Command Channel Reviews—BB-gun, Nowacki and

Guerrero incidents (PS ¶¶ 21, 65, 67). She signed Dart’s name to all three MB complaints seeking

Taylor’s termination (Id. ¶¶ 33, 65, 66). John Maher, former Assistant General Counsel to the

Sheriff’s Police Department who attended the March 22, 2011 Loudermill Hearing, attests that

management broke protocol by insisting that the hearing be conducted prior to the completion of

OPR’s investigation (PS ¶ 27). According to Johnson, conducting a Loudermill hearing before the

investigation is completed, documented and approved, is contrary to accepted law enforcement

practices and standards. (PS ¶ 28). “The scheduling of a Loudermill hearing before the

investigation was completed and the failure to follow-up on the deficiencies demonstrate that the

investigation was not only seriously flawed but strongly suggests that the outcome had been pre-

determined before the investigation was completed.” (PS ¶ 28).

        Directly after the Loudermill Board determined that Percy would still be paid his regular

salary, Holbrook told Deputy Chief Smith words to the effect “the Sheriff and Zelda [Whittler] are




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not happy with the outcome of the Board.” (PS, ¶ 30).2 OPR’s Standard Operation Procedures

provide that the Undersheriff or Sheriff, or his/her designee, will make the final decision regarding

the completeness of the investigation, the finding and any disciplinary action (PS ¶ 31). In this

case, it was Whittler who was the final authority (PS ¶ 74). Whittler was personally involved in

the actions taken against Percy.

Sheriff Thomas Dart
        Dart had sufficient personal involvement. Taylor must be permitted to proceed against Dart

in his individual capacity. Maher’s declaration that he heard a conversation between Holbrook and

the Deputy Chief where Holbrook stated that the Sheriff is not happy with the outcome of the

Loudermill Board shows Dart’s personal involvement. Holbrook also stated, “downtown sees it

one way, and we on the ground doing the job each day see it the right way.” (PS ¶ 30) “Downtown”

was commonly referred to and understood as the Sheriff, the Undersheriff, and the Sheriff’s Chief

of Staff (Id.).

        Johnson states there is evidence that Dart was personally involved in Percy’s OPR

investigation (PS ¶ 41). Johnson points to the testimony of OPR Investigator Hemphill in the

Barber case where OPR Director Dyner talked about a conversation with Dart in which Dart

wanted Barber fired before the investigation even began because of a racial discrimination

complaint (Id. see also, discussion supra, p. 11).




2
  On September 16, 2019, Magistrate Judge Jeffrey Gilbert denied Plaintiff’s motion for
reconsideration of the Court’s October 24, 2017 ruling and for an order requiring Dart sit for
deposition (Doc. 454). Maher’s affidavit was attached to the motion for reconsideration.
Defendants in their response requested the Court to enter an order excluding Maher’s affidavit
contending that the affidavit untimely produced, 3 months after the close of fact discovery (9/16/19
Order, p. 8). Magistrate Judge Gilbert ruled that the affidavit was untimely produced and should
not be considered when deciding the motion to reconsider (Id., p. 9).


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       Dart also filed three MB complaints against Taylor, with Whittler signing his name to the

complaints (PS 21 ¶¶ 33, 65, 66). There is sufficient evidence of Dart’s involvement and the jury

should decide if Dart is personally liable under § 1983.

OPR Executive Director Joseph Ways
       Ways played a substantial role in, and was personally involved in, the constitutional

deprivations. Ways signed off and approved OPR’s Summary Reports for all three OPR

investigations, i.e., BB-gun, Nowacki and Guerrero (PS ¶¶ 31, 67). He signed off on all three

Command Channel Reviews (Id). OPR’s Standard Operation Procedures provide that final

approval for the summary report is obtained by the Executive Director and no summary reports

will be sent to Command Channel Review prior to obtaining Ways’ final approval and signature

(PS, ¶ 53). “Ways signed off on the findings and [Ways] recommended Taylor’s termination in

spite of a seriously flawed investigation that [he] had an obligation and responsibility to ensure

was fair, unbiased, thorough and complete.” (Id.).

       In addition, Ways was the sole person responsible for recommending discipline (PS ¶ 73).

Ways sustained the charges, recommended termination, signed off on the OPR Summary and the

Command Channel Review despite not knowing if OPR was equipped to investigate the March 8,

2011 incident (PS ¶ 20). Ways didn’t even know if he would have approved an investigation

containing weaknesses (PS ¶ 50). There is no basis to dismiss Ways from this case.

Gregory Ernst and Patrick Fitzgerald

       Not much more needs to be said about Ernst and Fitzgerald’s involvement. Fitzgerald and

Ernst exhibited extreme racial animus and hatred towards Percy. There is evidence that Ernst

falsified the complaint for a search warrant. Ernst threatened Percy stating: “You better quit,

nigger.” After Percy denied the allegations, he was arrested on the spot, without any investigation,

aside from Ernst and Fitzgerald speaking to Woolfolk and Wolfe (Wolfe did not witness the


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incident) (PS ¶ 12). Murphy asked Ernst and Fitzgerald to detain Percy (Id.). He was placed in the

vehicle, handcuffed and not free to leave (Id.). Ernst held Percy in custody and interrogated him

for 30 hours, paraded Percy in handcuffs in front of his peers and handcuffed him to a table (PS ¶

13). Ernst said: “we got to get this mother fucker” when an OPR investigator said, “this is a

Sylvester Baker guy”. Fitzgerald called Percy an “nigger” and pointed a gun at Percy’s wife. Ernst

prepared a biased OPR Summary Report used for the rubber stamped CCR, intentionally ignoring

exculpatory evidence with no mention that no weapon or projectiles were recovered and no

mention of Woolfolk extensive criminal history. These are just a sampling of Ernst and

Fitzgerald’s personal involvement.

Patrick Murphy

       Murphy was OPR’s Assistant Director who assigned Ernst to investigate Taylor (PS ¶ 12).

Ernst was the lead investigator under Murphy’s direction (Id. ¶ 12). Murphy was personally

involved in the investigation and was one of the investigators at Taylor’s residence when Percy

was arrested by Ernst and handcuffed by Fitzgerald (Id.).

       As to each defendant, the facts are such that a jury could reasonably conclude that the

misconduct occurred at their direction or with their knowledge and consent. A jury could find that

each of the Defendants facilitated, approved, condoned, or turned a blind eye to the misconduct.

V. DEFENDANTS’ PROBABLE CAUSE ARGUMENT IS WITHOUT MERIT
       Defendants again try to avoid liability contending that they had probable cause to arrest

Taylor. The Court rejected Defendants’ probable cause argument in the context of their motion to

dismiss noting: “When there is room for differences of opinion on facts or reasonable inferences,

the probable cause question should be determined by a jury.” (9/30/18 Opinion, p. 9, Doc. 290;

citing Mucha v. Village of Oak Brook, 650 F.3d 1053, 1057 (7th Cir. 2011). Probable cause is

typically a question of fact for the jury. Moore v. Marketplace Rest., Inc., 754 F.2d 1336, 1348 (7th


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Cir. 1985); Maxwell v. City of Indianapolis, 998 F.2d 431, 434 (7th Cir. 1983) (probable cause is

proper issue for the jury if there is room for a difference of opinion concerning the facts or the

reasonable inferences to be drawn from them).

       In Moore, after a restaurant owner complained that the plaintiffs had refused to pay, the

police went to the plaintiffs' homes and arrested them after determining only that they had been in

the restaurant that day. The court held there was no probable cause to arrest as the police had not

conducted a real investigation and there were no exigent circumstances justifying such summary

action. The crime was not particularly serious, the plaintiffs were not dangerous, and they were

not fleeing the scene. The arrest could have been avoided had the police conducted a proper

investigation. Summary judgment for the police was improper. Moore, 754 F.2d at 1345-46.

       There is no legitimate reason why an adequate investigation was not undertaken prior to

Percy’s arrest, and this is, at a minimum, a question of fact for the jury. There is no evidence that

Percy was a danger to the community, having been a law-abiding police officer. On March 9, 2011,

before the arrest, when questioned by Ernst, Percy denied “committing those acts.” A jury could

certainly conclude that, had there been a proper investigation, probable cause was lacking.

       A jury could reasonably conclude that Percy’s arrest was based on the racial animus of

Ernst, Fitzgerald and others at the CCSO or for political retaliation or both. Self-serving denials

do not wipe away the racial hatred exhibited by these OPR investigators, interrogating Percy for

30-hours, parading him around in handcuffs in front of his peers, calling Percy and his wife the “N

word,” terrorizing his wife and their children, sustaining the charges days after the start of the

investigation and the biased and shoddy investigation that failed to meet minimum standards as

set forth in Johnson’s report. Because no weapon or projectiles were recovered, and no




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corroborating evidence backed up Woolfolk’s allegations, and given Woolfolk’s illogical account,

including hearing a “poof,” a jury could find that there was no probable cause to arrest Percy.

       The fact that the Chicago Police Department (“CPD”), who first investigated the incident

on March 8, 2011, made no arrests supports an inference of lack of probable cause (PS ¶ 17).

According to Mary Wolfe, the two CPD officers who initially responded to her call did not seem

too interested in doing anything about what she said happened (Id.). “[Woolfolk] was telling

them that he’s over there now. They refused to go.” (Id.). The CPD advised Wolfe and Woolfolk

of “warrant and order of protection procedures.” (Id.).

       Moreover, there is evidence from which a jury could infer that Ernst falsified the complaint

for a search warrant by falsely stating that Taylor throughout the interview changed the versions

of his whereabouts on March 8, 2011 (PS ¶ 14). However, Ernst’s report of Taylor’s interview

makes no such mention (Id). According to Johnson, Ernst is either guilty of unethical police

practices or “very poor reporting.” (Id.).

       Even if a jury were to conclude that probable cause existed for the initial arrest, probable

cause does not shield the Defendants from liability for their many other wrongful acts. Defendants’

probable cause argument is without merit. Probable cause is a defense to a § 1983 wrongful arrest

claim. Chelios v. Heavener, 520 F.3d 678, 685-86 (7th Cir. 2008); Thurman v. Vill. of Hazel Crest,

570 F.Supp. 1019, 1027 (N.D. Ill. 2008). Percy’s claims involve much more than wrongful arrest.

VI.    DART DEFENDANTS FAIL TO SATISFY THEIR INITIAL BURDEN FOR
       ARGUMENTS G THROUGH K
       The Dart Defendants take a shotgun approach for Arguments G-K (Def. Mot., p. 15).

Defendants merely make bald assertions with no evidence. For instance, the entirety of Argument

J is that “[m]any of the alleged retaliatory acts were not encompassed in an EEOC complaint and/or

the claims were untimely filed (Id.).



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       "[I]t is not this court’s responsibility to research and construct the parties’ arguments.” APS

Sports Collectibles, Inc. v. Sports Time, Inc., 299 F.3d 624, 631 (7th Cir. 2002). To meet their

burden for summary judgment, Defendants must rely on more than bald assertions or bare

pleadings. EEOC v. MTC Gear Corp., 595 F.Supp. 712, 716 (N.D. Ill. 1984). Defendants bear the

burden to establish the basis for their motion with evidence demonstrating the absence of any

genuine issue of material fact. Hanover Ins. Co. v. N. Bldg., Co., 891 F.Supp.2d 1019, 1025 (N.D.

Ill. 2012). When the moving party fails to meet its strict burden of proof, summary judgment

cannot be entered, even if the opposing party fails to respond to the motion. Gerhartz v. Richert,

779 F.3d 682, 686, n. 8 (7th Cir. 2015). Hence, the Dart Defendants’ motion for summary judgment

as to Arguments G-K must be summarily denied.

VII. § 1983 CONSPIRACY
       The Dart Defendants’ argument as to Percy’s § 1983 conspiracy claims in Count VI

consists of one sentence: “Since there is [sic] no underlying constitutional violations, Defendants

are entitled to judgment on Plaintiff’s conspiracy claim. See Hill v. Shobe, 93 F.3d 418, 422 (7th

Cir. 1996).” (Def. Mtn. p. 15). This argument must be rejected on its face. As discussed supra,

there are genuine issues of material fact of underlying constitutional violations including First

Amendment retaliation claims; racial discrimination claims and other constitutional claims under

§ 1983.

VIII. STATUTE OF LIMITATIONS
       Based on the two-year statute of limitations for civil rights claims, Defendants Ways and

Whittler argue that because Percy did not sue them until July 6, 2015, his claims are time-barred.

(Mot., p. 15). As discussed supra, the Court should not consider this argument for Defendants’

failure to meet their strict burden of proof for summary judgment. Regardless, there is no merit to

the argument. The Court denied Defendants Ways and Whittler’s 12(b)(6) motion in which they



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claimed Taylor’s § 1983 claims were time-barred (9/30/18 Opinion, pp. 14-15, Doc. 290). This

Court stated in pertinent part:

         The limitations period for § 1983 claims is based on state law—in Illinois, it is two
         years. O’Gorman v. City of Chi., 777 F.3d 885, 889 (7th Cir. 2015). But the date
         on which the claim accrues (and thus the limitations period starts) is a matter of
         federal law and generally occurs when a plaintiff knows the fact and the cause of
         an injury. Id. The accrual determination is a twostep process: the court first
         identifies the injury and then determines when the plaintiff could have sued for that
         injury. Draper v. Martin, 664 F.3d 1110, 1113 (7th Cir. 2011). The running of the
         statute of limitations is an affirmative defense and dismissal of a complaint on such
         grounds is typically improper. See Reiser v. Residential Funding Corp., 380 F.3d
         1027, 1030 (7th Cir. 2004) …

         At this stage, it is not clear (and the parties have not identified in their briefs) when
         Taylor’s claims accrued. For example, for the filing of the March 2013 Merit Board
         complaint, it is unclear when Taylor knew the fact and the cause of his injury. The
         same is true for the claims related to the other events. Further, the TAC alleges that
         some of Smith, Ways, and Whittler’s actions, such as their ratification of the sham
         investigation and recommendation of Taylor’s dismissal, happened in 2014. (TAC
         ¶ 76.) Hence, the Court cannot conclude that Taylor’s § 1983 claims are time-barred
         based on the allegations in the TAC.
(Id.).
         The same reasoning applies to the motion for summary judgment. Because the statute of

limitations is an affirmative defense, it is Defendants’ burden to establish that the claim is time-

barred. Taylor v. City of Chicago, 80 F.Supp.3d 817, 824 (N.D. Ill. 2015). Defendants’ two

sentence argument fails to establish that any of Plaintiff’s claims are time-barred.

         Additionally, the limitations period starts with clear notice of a final decision to terminate

without further process. Lawshe v. Simpson, 16 F.3d 1475, 1478 (7th Cir. 1994). In this case, clear

notice of a final decision to terminate without further process occurred at the earliest on October

30, 2013, when the MB issued its decision (PS ¶ 42). This is within two years of filing suit against

these individuals on July 6, 2015. Learning of the acts of retaliation and discrimination occurred

after July 6, 2013. These acts include the refusal to provide Taylor with back pay and reinstatement

after Judge Cohen declared the MB decision void (Id.); learning of the racial slurs and clear



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evidence of political retaliation for supporting Baker from Avet’s State Court deposition taken on

November 23, 2015 (PS ¶¶ 1, 2, 5); the fact that Defendants’ acts of discrimination and retaliation

are ongoing and continuing; and Taylor’s on-going conspiracy claims under § 1983.

       “Under federal law, the discovery rule ‘starts the statute of limitations running only when

the plaintiff learns that he has been injured, and by whom.’” CBS Outdoor, Inc. v. Village of

Plainfield, 959 F.Supp.2d 1054, 1062 (N.D. Ill. 2013), quoting United States v. Norwood, 602 F.3d

830, 837 (7th Cir. 2010). The discovery rule is a fact-intensive inquiry, in which both the

surrounding circumstances and the claims plaintiff is trying to raise are critical. Hileman v. Maze,

367 F.3d 694, 697 (7th Cir. 2004).

       Taylor did not learn of the gross deficiencies of the investigation, and of Whittler and

Ways’ ratification of the investigation and findings, until after engaging in discovery in the

underlying case filed on March 8, 2013. Taylor’s claims are not barred by the statute of limitations.

IX. DEFENDANTS’ QUALIFIED IMMUNITY ARGUMENT IS NOT WELL-TAKEN
       Ernst Defendants’ Qualified Immunity Argument
       The Ernst Defendants’ qualified immunity argument rests entirely upon the assertion that

they had probable cause to arrest and search (Ernst MSJ, pp. 13-14). As set forth in Section V,

probable cause is a question of fact for the jury to determine. The test for qualified immunity is

whether: (1) the facts, taken in the light most favorable to the plaintiff, show that the defendant

violated a constitutional right; and (2) the constitutional right was clearly established at the time

of the alleged violation. Saucier v. Katz, 533 U.S. 194, 201 (2001). Even if the Ernst Defendants

had probable cause for the arrest, it would only shield them from liability for the arrest and not

from their subsequent wrongful acts and therefore provides no basis for summary judgment.

       Regarding the second prong of the qualified immunity analysis, Percy’s constitutional right

not to be arrested without probable cause was clearly established at the time of the alleged


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violations. Moore v. Marketplace Rest., Inc., 754 F.2d 1336, 1348 (7th Cir. 1985); Chelios v.

Heavener, 520 F.3d 678 (7th Cir. 2008); Thurman v. Village of Hazel Crest, 570 F.Supp. 1019

(N.D. Ill. 2008).

       Chelios, Moore, Thurman and decades of precedent establish that Percy’s constitutional

rights were clearly established on the issue of probable cause. In Chelios, a police sergeant claimed

that the plaintiff poked him in the chin with his outstretched finger. Chelios, 520 F.3d at 683. The

sergeant arrested the plaintiff, transported him to station, and the state filed a misdemeanor

criminal complaint. Id. Defendants moved for summary judgment on the § 1983 unlawful arrest

based on probable cause. The Seventh Circuit noted that whether the plaintiff poked the sergeant

in the chin was a fact critical to the § 1983 claim. Id., p. 686. “If Mr. Chelios made contact with

Sergeant Heavener, then Sergeant Heavener had probable cause to arrest him for having committed

an aggravated battery under Illinois law.” Id. The plaintiff denied making any contact with the

sergeant. Id., pp. 686-87. The Seventh Circuit held:

       Because there is a dispute as to whether Mr. Chelios ever made physical contact
       with Sergeant Heavener, the district court erred in ruling, as a matter of law, that
       Sergeant Heavener had probable cause to arrest Mr. Chelios for aggravated battery
       under Illinois law. Such a ruling could be support only if the facts and all reasonable
       inferences were construed against Mr. Chelios, a methodology that contravenes
       well-established summary judgment standards.
Chelios, 520 F.3d at 688.
       The Seventh Circuit also denied summary judgment based on qualified immunity:
       When the facts of this case are taken in the light most favorable to him, Mr. Chelios
       has shown that Sergeant Heavener violated his constitutional rights by arresting
       him without probable cause. Moreover, given that, under his version of the facts,
       Mr. Chelios had not made physical contact with Sergeant Heavener… we believe
       that case law would have put him on notice that Mr. Chelios had a right to be free
       from arrest under the particular circumstances of this case.
Chelios, 520 F.3d at 691.
       Like the Plaintiff in Chelios, Percy denies that he committed the alleged acts. On March 9,

2011, before the arrest, Ernst asked Percy questions about whether he had committed the acts and


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Percy “denied committing those acts.” (PS ¶ 12). After Percy denied the allegations, he was

arrested on the spot, without any investigation, aside from Ernst and Fitzgerald speaking to

Woolfolk and Wolfe (Wolfe did not witness the incident) (Id). Murphy asked Ernst and Fitzgerald

to detain Percy (Id). He was placed in the vehicle, handcuffed and not free to leave (Id.). Based on

Chelios and other authority cited herein, questions of fact exist as to whether Ernst and Fitzgerald

had probable cause to arrest Percy, which questions of fact also preclude summary judgment based

on qualified immunity.

       Similarly, in Thurman, the Court held fact issues precluded summary judgment on a false

arrest claim based on qualified immunity. Thurman, 570 F.Supp.2d at 1028. As discussed in detail

supra, Moore is closely analogous for purposes of qualified immunity. It cannot be said that the

constitutional requirement of probable cause was not clearly established in 2011. A reasonable

jury could reasonably find that Ernst and Fitzgerald lacked probable cause to arrest Taylor without

any meaningful investigation. No exigent circumstances existed. Percy was not a flight risk being

a 16-year veteran police officer with the Sheriff’s Police Department. A jury could reasonably

conclude that it was unreasonable to accept Woolfolk’s story, an individual with questionable

character, at face value with no corroborating evidence, without any investigation.

Dart Defendants’ Qualified Immunity Argument
       The Dart Defendants’ argue that qualified immunity precludes § 1983 claims “because

there is sufficient evidence of misconduct.” (Dart’s MSJ, pp. 5-8). Taking a shotgun approach,

Defendants lay out a list of disputed questions of fact trying to disparage Percy’s character

including claiming that Percy assaulted Nowacki, charges on which he was found not guilty after

a bench trial (PS ¶ 63).

       Defendants cite Hernandez v. Sheahan, 711 F.3d 816 (7th Cir. 2011), a case where the court

found it objectively reasonable for prison officials to investigate correctional officers implicated


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in a multi-felon major jailbreak. In that case, the Seventh Circuit in dicta stated: “due to the fact

that the authorities had probable cause to investigate the Officers, we are less concerned about

other possible motivations for their treatment.” Hernandez, 711 F.3d at 818. That case has no

relevance here.

       Defendants cite to OPR’s sham investigation arguing that the investigation proves that they

were justified in violating Percy’s constitutional rights. Defendants make the conclusory claim,

that “[b]ecause the record is rife with evidence of misconduct, the Executive Defendants were well

within their means to investigate and address it.” (Dart’s MSJ, pp. 7-8). Defendants’ qualified

immunity argument is not supported by law or fact and must be denied.

X. OTHER ARGUMENTS/ASSERTIONS BY DEFENDANTS
       False and/or Misleading Statements about Circuit Court Backpay Litigation
       The Dart Defendants make false and/or misleading statements concerning the Circuit Court

litigation before Judge Cohen, not-the-least of which is the claim that the Circuit Court repeatedly

denied Plaintiff’s requests for reinstatement and backpay (Def. Mot., p. 3). This is simply untrue

as Percy sets forth in his pending Motion for Partial Summary Judgment and in the Reply (Docs.

418, 419, 433 & 434).

       The Circuit Court never rejected Taylor’s argument that the status quo required Taylor to

be returned to the payroll and provided backpay. Just the opposite, on August 15, 2019, Judge

Cohen ruled that Percy is entitled to backpay regardless of whether he ultimately prevails on the

charges before the MB (PS ¶ 45). The Circuit Court also never ruled that Percy is not entitled to

be returned to the payroll. On August 22, 2019, Judge Cohen stated: “I do have an opinion on that

… And I think one follows the other, to be quite honest. But let’s wait and see.” (Id.).

       On September 25, 2019, the Illinois Supreme Court granted the Sheriff’s petition for leave

to appeal in Goral v. Dart, 132 N.E.3d 368 (Table) (Ill. 2019). On October 11, 2019, Judge Cohen,



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sua sponte, stayed all pending motions pending the appeal in Goral v. Dart (PS ¶ 46). Twice, the

Illinois Supreme denied the Sheriff’s petition for leave to appeal Judge Cohen’s decision holding

that the October 30, 2013 Merit Board decision was void. Taylor v. Dart, 77 N.E.3d 86 (Table)

(Ill. 1/25/17); Taylor v. Dart, 89 N.E.3d 764 (Table) (Ill. 9/27/17). Thus, Defendants are wrong

that the Circuit Court repeatedly denied Percy’s requests for backpay and reinstatement.

The Defendants’ Improperly Rely on a Void MB Decision and a Circuit Court Decision that
was Withdrawn and is of No Effect
       It is improper for the Dart Defendants to cite to the Merit Board’s October 30, 2013

decision and the circuit court order of May 7, 2014 which purports to affirm the October 30, 2013

MB order. Judge Cohen and the Appellate Court ruled that the October 30, 2013 MB order is void

(PS ¶ 42; Taylor v. Dart, 2017 IL App (1st) 143684-B, ¶¶ 55-56). Defendants fail to mention that

on November 25, 2014, the circuit court withdrew its memorandum and order entered on May 7,

2014 and stated that the order “is of no effect.” (PS ¶ 42).

Defendants Misstate Brown v. County of Cook, 661 F.3d 333 (7th Cir. 2011) for Percy’s First
Amendment Claims
       The Dart Defendants are incorrect that even if Percy can demonstrate that the Defendants

were aware of his support for Baker, they are still entitled to summary judgment “because Plaintiff

fired a pellet rifle at an unarmed neighbor.” Defendants cite Brown v. Cty. of Cook, 661 F.3d 333

(7th Cir. 2011) for the proposition that “any nonpolitical ground causing the discrimination will

preclude liability.” (Dart’s MSJ, p. 14). Brown does not stand for such a proposition. The Seventh

Circuit stated: “If all that's charged is discrimination on political grounds, any nonpolitical

ground that the defendant can prove would have caused the discrimination regardless of the

presence of political hostility will preclude liability.” Brown, 661 F.3d at 337.

       Taylor charges more than discrimination on political grounds. Further, Brown requires

Defendants to prove a nonpolitical ground for this statement to apply. Percy denies firing a pellet



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gun at an unarmed neighbor and there is overwhelming evidence to support Percy’s claim,

including evidence that disproves Woolfolk’s story based on the direction the vehicle was facing

according to Mary Wolfe (PS ¶¶ 24, 25).

Defendants were Aware of Percy’s Complaints in this Case at the time the MB Complaint was
filed about the Guerrero Incident
        The Dart Defendants argue that Percy’s retaliation claims for filing the MB complaint

stemming from the Guerrero incident fail because “there is no evidence that anyone at the CCSO

including Undersheriff Whittler had knowledge of Plaintiff’s lawsuit at the time of filing.” (Dart’s

MSJ, p. 12). This lawsuit was filed on March 8, 20133 and Defendants argue that the Sheriff Office

was served on June 10, 2013 (Id.). Defendants ignore the fact that Percy filed his Charge of

Discrimination against the CCSO on November 18, 2011 (PS ¶ 6).

        Additionally, Percy filed complaints against the CCSO prior to March 2011. On October

2, 2009, Percy filed a Charge of racial discrimination with the Illinois Department of Human

Rights and the EEOC (Id.). Percy also filed a Shakman complaint, referred to in a letter dated

August 27, 2009, against the CCSO related to allegations of unlawful political action (Id.).

        Dart filed the MB complaint for the Guerrero incident on March 18, 2013. There is no

question that the CCSO knew about Percy’s prior EEOC charges and Shakman complaint prior to

this time. Also, the CCSO likely knew about the instant lawsuit if the CCSO monitors lawsuits

filed against it. With respect to the Nowacki incident, OPR prepared and had Deputy Sheriff

DeCook file a misdemeanor criminal complaint against Taylor on or about February 26, 2012 (PS

¶ 61). Defendants have offered no basis for summary judgment on Percy’s retaliation claims.

Malicious Prosecution



3
 Defendants incorrectly state that this lawsuit was filed on March 18, 2013 (Def. Mot., p. 12)
when in fact Percy’s filed the underlying lawsuit on March 8, 2013 (Doc. 1).


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        The criminal proceedings ended with conclusive evidence of innocence; a finding of not

guilty. The facts show and Percy will prove that Ernst and Fitzgerald caused and procured the

criminal complaints and his arrest. The facts show and Percy will prove that Ernst and Fitzgerald

acted without probable cause, (See, discussion on probable cause, supra); that is that they did not

have an honest belief that Percy committed the offenses charged; and, Percy will prove that

Defendants Ernst and Fitzgerald acted with malice. See, Swick v. Liautaud, 169 Ill.2d 504, 512

(1996).4

Cook County’s Motion for Summary Judgment Must be Denied

        Cook County’s premise is that because the Dart and Ernst Defendants are not liable, the

County is not liable. For the reasons set forth above, Cook County’s motion must be denied.

        WHEREFORE, Plaintiff, Percy Taylor, requests that this Honorable Court deny

Defendants’ Motions for Summary Judgment in their entirety and grant him any other relief the

Court deems appropriate.

                                             PERCY R. TAYLOR

                                             s/ Richard F. Linden
                                             One of Plaintiff’s attorneys




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  Regarding Defendants’ claim that Percy paid “restitution” see Plaintiff’s Response to Dart
Defendants Statement of Facts, ¶ 18. Restitution is a legal term, see 730 ILCS 5/5-5-6. Restitution
is ordered by the Court. (Id.). In this case there is no order of the Court requiring Percy to pay
restitution. Percy denies paying Wolfe any money. But even if he did, because there is no Court
Order such payment cannot be called restitution. Accordingly, any payment would have been in
settlement of disputed claims and is inadmissible at the trial of this case pursuant to Rule 408 of
the Federal Rules of Evidence.



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